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            I declare under penalty of perjury by the laws of the State of Ca the foregoing to
            be true and correct .
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               Robert McLelland
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